         Case 8:20-cv-00265-CEH-TGW Document 10 Filed 07/16/20 Page 1 of 5 PageID 91

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida


                        Thomas Nestor                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 8:20-cv-00265-T-36-TGW
                                                                     )
         VPC3 II, LLP, and N.E. APARTMENTS                           )
                  ASSOCIATES, INC.,                                  )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) N.E. APARTMENTS ASSOCIATES, INC.
                                           11344 NW 22 Street
                                           Miami, FL 33142




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Amber Robinson
                                           Robinson Law Office PLLC
                                           695 Central Ave Ste. 264 St. Petersburg, FL 33701, 8136132400




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT

             July 16, 2020                                                                         DanaGreco
Date:
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                                                                                                                   Deputy Clerk
         Case 8:20-cv-00265-CEH-TGW Document 10 Filed 07/16/20 Page 2 of 5 PageID 92

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         MiddleDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                           Florida


                        Thomas Nestor                                )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 8:20-cv-00265-T-36TGW
                                                                     )
         VPC3 II, LLP, and N.E. APARTMENTS                           )
                  ASSOCIATES, INC.,                                  )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) VPC3 II, LLP
                                           6830 Central Avenue, Suite C
                                           St. Petersburg, FL 33707




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Amber Robinson
                                           Robinson Law Office PLLC
                                           695 Central Ave Ste. 264 St. Petersburg, FL 33701, 8136132400




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT

           July 16, 2020
Date:                                                                                                     DanaGreco
                                                                                        Signature of Clerkk oorr De
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                                                                                                                          Clerk
          Case 8:20-cv-00265-CEH-TGW Document 10 Filed 07/16/20 Page 3 of 5 PageID 93

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 8:20-cv-00265-T-36TGW

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
         Case 8:20-cv-00265-CEH-TGW Document 10 Filed 07/16/20 Page 4 of 5 PageID 94

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                          MiddleDistrict
                                                     __________ Districtof
                                                                         of__________
                                                                            Florida


                        Thomas Nestor                                   )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 8:20-cv-00265-T-36-TGW
                                                                        )
         VPC3 II, LLP, and N.E. APARTMENTS                              )
                  ASSOCIATES, INC.,                                     )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Judge Jack Day
                                           Sixth Judicial Circuit, Pinellas County Court
                                           545 1st Ave N
                                           St. Petersburg, FL 33701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Ralph Strzalkowski and Amber Robinson,
                                           Florida Rights Law Firm
                                           695 Central Ave Ste. 264
                                           St. Petersburg, FL 33701



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:     Julyy 16, 2020                                                                                  DanaGreco
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          Case 8:20-cv-00265-CEH-TGW Document 10 Filed 07/16/20 Page 5 of 5 PageID 95

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 8:20-cv-00265-T-36-TGW

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

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 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
